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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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ROGER BEECHAM,

                          Petitioner,
                                                              ORDER ADOPTING REPORT
                 -against-                                    AND RECOMMENDATION

BRUCE YELLCH, Superintendent,                                 12-CV-7209

                           Respondent.
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Seibel, J.

          Before the Court is the Report and Recommendation of Magistrate Judge Paul E.

Davison dated April 11, 2014 (“the R&R”). (Doc. 17.) No objections to the R&R have been

filed. Accordingly, I have reviewed it for clear error, and find no error, clear or otherwise. The

R&R is therefore hereby adopted as the decision of the Court, and the Petition is denied. The

Clerk of Court is respectfully directed to close the case. Because reasonable jurists would not

find it debatable that Petitioner has failed to make a substantial showing that he was denied a

constitutional right, and that Petitioner’s Miranda claim is procedurally barred, no certificate of

appealability will issue. See 28 U.S.C. § 2253(c); Slack v. McDaniel, 529 U.S. 473, 483-84

(2000).

SO ORDERED.

Dated: April 30, 2014
       White Plains, New York


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                                                              CATHY SEIBEL, U.S.D.J.
